                                              Case 09-25593-jpk                        Doc 1             Filed 12/31/09                     Page 1 of 76
B1 (Official Form 1)(1/08)
                                              United States Bankruptcy Court
                                                      Northern District of Indiana                                                                             Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                             Name of Joint Debtor (Spouse) (Last, First, Middle):
  Vo, Tin T.                                                                                               Vo, Lynn T.


All Other Names used by the Debtor in the last 8 years                                                  All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                             (include married, maiden, and trade names):
  DBA Sand Castle Contruction LLC; DBA Vintage Original                                                    AKA Lynn T. Nguyen
  Homes, LLC; DBA Aqua Spa, LLC; AKA Dustin Vo; DBA
  Chop Stix, Inc.

Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                       Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                           (if more than one, state all)
  xxx-xx-5522                                                                                              xxx-xx-8217
Street Address of Debtor (No. and Street, City, and State):                                             Street Address of Joint Debtor (No. and Street, City, and State):
  1811 Woodmere Dr.                                                                                        1811 Woodmere Dr.
  Valparaiso, IN                                                                                           Valparaiso, IN
                                                                                       ZIP Code                                                                                      ZIP Code
                                                                                     46383                                                                                        46383
County of Residence or of the Principal Place of Business:                                              County of Residence or of the Principal Place of Business:
  Porter                                                                                                   Porter
Mailing Address of Debtor (if different from street address):                                           Mailing Address of Joint Debtor (if different from street address):


                                                                                       ZIP Code                                                                                      ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                   Type of Debtor                                       Nature of Business                                         Chapter of Bankruptcy Code Under Which
                (Form of Organization)                                     (Check one box)                                            the Petition is Filed (Check one box)
                   (Check one box)                              Health Care Business                                  Chapter 7
                                                                Single Asset Real Estate as defined                   Chapter 9                        Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                         in 11 U.S.C. § 101 (51B)                                                               of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                             Chapter 11
                                                                Railroad
                                                                                                                      Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                          Stockbroker
                                                                                                                      Chapter 13                       of a Foreign Nonmain Proceeding
                                                                Commodity Broker
    Partnership
                                                                Clearing Bank
    Other (If debtor is not one of the above entities,          Other                                                                             Nature of Debts
    check this box and state type of entity below.)                                                                                                (Check one box)
                                                                        Tax-Exempt Entity
                                                                       (Check box, if applicable)                     Debts are primarily consumer debts,                 Debts are primarily
                                                                Debtor is a tax-exempt organization                   defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                under Title 26 of the United States                   "incurred by an individual primarily for
                                                                Code (the Internal Revenue Code).                     a personal, family, or household purpose."

                                 Filing Fee (Check one box)                                             Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                                   Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                        Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                               to insiders or affiliates) are less than $2,190,000.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                        Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                             A plan is being filed with this petition.
                                                                                                               Acceptances of the plan were solicited prepetition from one or more
                                                                                                               classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                              THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

    1-            50-           100-           200-       1,000-        5,001-        10,001-       25,001-      50,001-        OVER
    49            99            199            999        5,000        10,000         25,000        50,000       100,000       100,000
Estimated Assets

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million      million        million       million
Estimated Liabilities

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million      million        million       million
                                      Case 09-25593-jpk                   Doc 1       Filed 12/31/09                 Page 2 of 76
B1 (Official Form 1)(1/08)                                                                                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Vo, Tin T.
(This page must be completed and filed in every case)                                   Vo, Lynn T.
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X     /s/ Alan D. Naggatz                               December 31, 2009
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              Alan D. Naggatz 17479-64

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                      Case 09-25593-jpk                     Doc 1          Filed 12/31/09             Page 3 of 76
B1 (Official Form 1)(1/08)                                                                                                                                              Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Vo, Tin T.
(This page must be completed and filed in every case)                                       Vo, Lynn T.
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this               I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                          is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and           proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                            (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Tin T. Vo                                                                        X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Tin T. Vo

 X    /s/ Lynn T. Vo                                                                           Printed Name of Foreign Representative
     Signature of Joint Debtor Lynn T. Vo
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     December 31, 2009
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Alan D. Naggatz
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Alan D. Naggatz 17479-64                                                                 debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Law Office Alan D. Naggatz
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      175 W. Lincolnway, Suite I
      Valparaiso, IN 46383                                                                     Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                              Email: naggatzlaw@aol.com
      219-476-7222 Fax: 219-476-7021
     Telephone Number
     December 31, 2009
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

     Date
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B 1D (Official Form 1, Exhibit D) (12/09)
                                                                 United States Bankruptcy Court
                                                                          Northern District of Indiana
             Tin T. Vo
 In re       Lynn T. Vo                                                                                      Case No.
                                                                                         Debtor(s)           Chapter    7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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                                            Case 09-25593-jpk                          Doc 1     Filed 12/31/09   Page 5 of 76



B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                        Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

                                                          Signature of Debtor:                 /s/ Tin T. Vo
                                                                                               Tin T. Vo
                                                          Date:           December 31, 2009




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}bk1{CCC}bk{   Case 09-25593-jpk   Doc 1   Filed 12/31/09   Page 6 of 76
                                        Case 09-25593-jpk                        Doc 1    Filed 12/31/09   Page 7 of 76



B 1D (Official Form 1, Exhibit D) (12/09)
                                                                 United States Bankruptcy Court
                                                                          Northern District of Indiana
             Tin T. Vo
 In re       Lynn T. Vo                                                                                      Case No.
                                                                                         Debtor(s)           Chapter    7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                      Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

                                                          Signature of Debtor:             /s/ Lynn T. Vo
                                                                                           Lynn T. Vo
                                                          Date:           December 31, 2009




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}bk1{CCC1}bk{   Case 09-25593-jpk   Doc 1   Filed 12/31/09   Page 9 of 76
                                           Case 09-25593-jpk                         Doc 1     Filed 12/31/09         Page 10 of 76
B6 Summary (Official Form 6 - Summary) (12/07)


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                                                                  United States Bankruptcy Court
                                                                           Northern District of Indiana
  In re          Tin T. Vo,                                                                                             Case No.
                 Lynn T. Vo
                                                                                                                ,
                                                                                               Debtors                  Chapter                 7




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF          ASSETS                  LIABILITIES           OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 1                  265,000.00


B - Personal Property                                             Yes                 4                    3,750.00


C - Property Claimed as Exempt                                    Yes                 1


D - Creditors Holding Secured Claims                              Yes                 1                                           452,500.00


E - Creditors Holding Unsecured                                   Yes                 2                                             7,808.06
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 12                                          827,581.28
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 1
   Unexpired Leases

H - Codebtors                                                     Yes                 3


I - Current Income of Individual                                  Yes                 1                                                                  3,002.00
    Debtor(s)

J - Current Expenditures of Individual                            Yes                 1                                                                  4,488.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            27


                                                                                Total Assets             268,750.00


                                                                                                 Total Liabilities            1,287,889.34




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Form 6 - Statistical Summary (12/07)


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                                                                  United States Bankruptcy Court
                                                                           Northern District of Indiana
  In re           Tin T. Vo,                                                                                            Case No.
                  Lynn T. Vo
                                                                                                             ,
                                                                                          Debtors                       Chapter                7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                     Amount

              Domestic Support Obligations (from Schedule E)                                                         0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                 7,808.06

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                     0.00

              Student Loan Obligations (from Schedule F)                                                             0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                     0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                     0.00

                                                                                 TOTAL                           7,808.06


              State the following:

              Average Income (from Schedule I, Line 16)                                                          3,002.00

              Average Expenses (from Schedule J, Line 18)                                                        4,488.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                            300.00


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                      187,500.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                 7,808.06

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                             0.00

              4. Total from Schedule F                                                                                                827,581.28

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                           1,015,081.28




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B6A (Official Form 6A) (12/07)


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  In re          Tin T. Vo,                                                                                          Case No.
                 Lynn T. Vo
                                                                                                         ,
                                                                                           Debtors
                                                                 SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                         Husband,    Current Value of
                                                                                 Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                 Description and Location of Property                            Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                        Community Deducting  any Secured
                                                                                                                    Claim or Exemption

1811 Woodmere Drive, Valparaiso, IN 46383; 3                                    Fee Simple                   J                  265,000.00               452,500.00
bedrooms, basement, attach 3 car garage

Time share with St. Johann Alpenland Resort,                                    Timeshare                    J                   Unknown                          0.00
Phoenix, AZ 85072-2694




                                                                                                         Sub-Total >            265,000.00       (Total of this page)

                                                                                                                 Total >        265,000.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                         (Report also on Summary of Schedules)
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                                           Case 09-25593-jpk                    Doc 1      Filed 12/31/09         Page 13 of 76
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  In re          Tin T. Vo,                                                                                             Case No.
                 Lynn T. Vo
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

1.     Cash on hand                                          X

2.     Checking, savings or other financial                      Centier Acct# xxxxx0110 Checking acct                             J                           300.00
       accounts, certificates of deposit, or
       shares in banks, savings and loan,                        Chase Business Checking Account                                   J                              0.00
       thrift, building and loan, and                            #xxxxxxxxxxx1282 for Aqua Spa LLC
       homestead associations, or credit
       unions, brokerage houses, or
       cooperatives.

3.     Security deposits with public                         X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                          Various Wicks and other Furnishings, Dining Room                  J                        3,000.00
       including audio, video, and                               set, Living Room Set, Breakfast Table, Family Room
       computer equipment.                                       Set, 2 Bed sets, Pool Table, Immitation Prints,
                                                                 Stove, Refrigerator, TV, Sofa, Bed

5.     Books, pictures and other art                         X
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                          Clothing                                                          J                           200.00

7.     Furs and jewelry.                                         Misc. Jewelry and watches                                         J                           250.00

8.     Firearms and sports, photographic,                    X
       and other hobby equipment.

9.     Interests in insurance policies.                          United Farm Family Term Life Insurance death                      W                      Unknown
       Name insurance company of each                            benefit $100,000.00
       policy and itemize surrender or
       refund value of each.                                     Western Reserve University Term Life Insurance                    W                      Unknown

10. Annuities. Itemize and name each                         X
    issuer.




                                                                                                                                   Sub-Total >            3,750.00
                                                                                                                       (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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  In re          Tin T. Vo,                                                                                             Case No.
                 Lynn T. Vo
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                         X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                       X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                      X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                           Sand Castle Construction LLC,                                     J                              0.00
    ventures. Itemize.
                                                                 Vintage Original Homes, LLC, 1811 Woodmere                        H                              0.00
                                                                 Drive, Valparaiso, IN 46383

                                                                 Aqua Spa, LLC, 1811 Woodmere Drive, Valparaiso,                   H                              0.00
                                                                 IN 46383

                                                                 Chop Stix, Inc., 2505 LaPorte Ave., Ste 115,                      H                              0.00
                                                                 Valparaiso, IN

15. Government and corporate bonds                           X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                     X

17. Alimony, maintenance, support, and                       X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.




                                                                                                                                   Sub-Total >                  0.00
                                                                                                                       (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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  In re          Tin T. Vo,                                                                                             Case No.
                 Lynn T. Vo
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                            2009 tax refund subject to back taxes unknown                     J                      Unknown
    claims of every nature, including                            amount
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                          X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                       X
    other vehicles and accessories.

26. Boats, motors, and accessories.                          X

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                       X
    supplies.

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.

30. Inventory.                                               X

31. Animals.                                                 X

32. Crops - growing or harvested. Give                       X
    particulars.

33. Farming equipment and                                    X
    implements.


                                                                                                                                   Sub-Total >                  0.00
                                                                                                                       (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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  In re          Tin T. Vo,                                                                                             Case No.
                 Lynn T. Vo
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

34. Farm supplies, chemicals, and feed.                      X

35. Other personal property of any kind                      X
    not already listed. Itemize.




                                                                                                                                   Sub-Total >                  0.00
                                                                                                                       (Total of this page)
                                                                                                                                        Total >           3,750.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                               (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (12/07)


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   In re          Tin T. Vo,                                                                                               Case No.
                  Lynn T. Vo
                                                                                                                ,
                                                                                               Debtors
                                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                         Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                         $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                       Specify Law Providing                   Value of           Current Value of
                    Description of Property                                               Each Exemption                       Claimed            Property Without
                                                                                                                              Exemption         Deducting Exemption
Real Property
1811 Woodmere Drive, Valparaiso, IN 46383; 3                                     Ind. Code § 34-55-10-2(c)(1)                      15,000.00               265,000.00
bedrooms, basement, attach 3 car garage

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Centier Acct# xxxxx0110 Checking acct             Ind. Code § 34-55-10-2(c)(3)                                                            ALL                    300.00

Household Goods and Furnishings
Various Wicks and other Furnishings, Dining                                      Ind. Code § 34-55-10-2(c)(2)                             ALL                 3,000.00
Room set, Living Room Set, Breakfast Table,
Family Room Set, 2 Bed sets, Pool Table,
Immitation Prints, Stove, Refrigerator, TV, Sofa,
Bed

Wearing Apparel
Clothing                                                                         Ind. Code § 34-55-10-2(c)(2)                             ALL                    200.00

Furs and Jewelry
Misc. Jewelry and watches                                                        Ind. Code § 34-55-10-2(c)(2)                             ALL                    250.00

Interests in Insurance Policies
United Farm Family Term Life Insurance death                                     Ind. Code §§ 27-1-12-14, 27-2-5-1(c)                     ALL               Unknown
benefit $100,000.00

Western Reserve University Term Life                                             Ind. Code §§ 27-1-12-14, 27-2-5-1(c)                     ALL               Unknown
Insurance

Other Contingent and Unliquidated Claims of Every Nature
2009 tax refund subject to back taxes unknown     Ind. Code § 34-55-10-2(c)(3)                                                            ALL               Unknown
amount




                                                                                                                Total:             18,750.00               268,750.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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   In re          Tin T. Vo,                                                                                                     Case No.
                  Lynn T. Vo
                                                                                                                    ,
                                                                                                     Debtors
                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
              CREDITOR'S NAME                                   O                                                            O    N   I
                                                                D   H         DATE CLAIM WAS INCURRED,                       N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                            T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                                 B   W           NATURE OF LIEN, AND                          I    Q   U                      PORTION, IF
                                                                T   J          DESCRIPTION AND VALUE                         N    U   T
                                                                                                                                             DEDUCTING
           AND ACCOUNT NUMBER                                   O                                                            G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                    C               OF PROPERTY
                                                                R
                                                                                   SUBJECT TO LIEN
                                                                                                                             E    D   D     COLLATERAL
                                                                                                                             N    A
                                                                                                                             T    T
Account No. xxxxxxxxxx0001                                              8/2008                                                    E
                                                                                                                                  D

First State Bank of Porter                                              3rd Mortgage
230 Lincoln Street
                                                                      1811 Woodmere Drive, Valparaiso, IN
Chesterton, IN 46304-1814
                                                                    J 46383; 3 bedrooms, basement, attach 3
                                                                      car garage
                                                                         Value $                           265,000.00                          52,500.00           52,500.00
Account No. xx3342                                                      3/2004

Freedom Mortgage                                                        1st Mortgage
Interstate Commerce Center
                                                                      1811 Woodmere Drive, Valparaiso, IN
Bldg 9, Ste 200
                                                                    H 46383; 3 bedrooms, basement, attach 3
Norfolk, VA 23502                                                     car garage
                                                                         Value $                           265,000.00                         205,000.00                   0.00
Account No. xxxxxxxxxxx9456                                             2nd Mortgage

National City                                                           1811 Woodmere Drive, Valparaiso, IN
PO Box 856153                                                           46383; 3 bedrooms, basement, attach 3
Louisville, KY 40285-6153                                               car garage
                                                                    J

                                                                         Value $                           265,000.00                         195,000.00         135,000.00
Account No.




                                                                         Value $
                                                                                                                          Subtotal
 0
_____ continuation sheets attached                                                                                                            452,500.00         187,500.00
                                                                                                                 (Total of this page)
                                                                                                                             Total            452,500.00         187,500.00
                                                                                                   (Report on Summary of Schedules)

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  In re          Tin T. Vo,                                                                                               Case No.
                 Lynn T. Vo
                                                                                                                ,
                                                                                              Debtors
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                1      continuation sheets attached
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   In re          Tin T. Vo,                                                                                                     Case No.
                  Lynn T. Vo
                                                                                                                    ,
                                                                                                     Debtors
                      SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)
                                                                                                                             Taxes and Certain Other Debts
                                                                                                                              Owed to Governmental Units
                                                                                                                                          TYPE OF PRIORITY
                                                                C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                   O                                                            O    N   I                      AMOUNT NOT
                                                                D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                                  E   H          DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                                 B   W
                                                                             AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                             OF CLAIM
           AND ACCOUNT NUMBER                                   T   J                                                        N    U   T                                AMOUNT
                                                                O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                               R   C                                                        E    D   D
                                                                                                                             N    A
                                                                                                                                                                       PRIORITY
                                                                                                                             T    T
Account No. xxxxxxxxx4001                                               8/31/2009                                                 E
                                                                                                                                  D

Indiana Dept of Revenue                                                 Withholding tax from Chop Stix Inc.
Ind Govt Center North                                                                                                                                        0.00
100 N. Senate Ave
                                                               X H                                                                    X
Indianapolis, IN 46204-2253

                                                                                                                                                   380.00                380.00
Account No. xxxxx5522                                                   2005

Internal Revenue Service                                                Income tax
P.O. Box 21126                                                                                                                                               0.00
Philadelphia, PA 19114
                                                                    J

                                                                                                                                                 5,000.00              5,000.00
Account No. xx4973, xxxxx5522, xx0083, 983                         2008
                                                                   Sand Castle Constuct LLC property
Porter County Treasurer                                            taxes for Lot 92 Windsor Pk N984973;
155 Indiana Ave                                                    Lot (983914), Lot 12 Manchester                                                           Unknown
Ste 209                                                            Meadows (580185522), Vintage Original
                                                               X - Homes LLC Property Taxes for Lot 22                                X
Valparaiso, IN 46383
                                                                   Pepper Creek (920083) listed if any
                                                                   personal liab as LLC owner                                                   Unknown              Unknown
Account No. xxx8564                                                     2008

Porter County Treasurer                                                 Vintage Original Construction Personal
155 Indiana Ave                                                         Property Taxes - listed to the extent of                                             0.00
Ste 209                                                                 any personal liability as owner of LLC
                                                               X H                                                                    X
Valparaiso, IN 46383

                                                                                                                                                 2,428.06              2,428.06
Account No. xxxxx5522                                                   2008

Porter County Treasurer                                                 Property taxes for 1811 Woodmere
155 Indiana Ave                                                         Drive, Valparaiso, IN - listed for notice                                            Unknown
Ste 209                                                                 purposes
                                                                    J
Valparaiso, IN 46383

                                                                                                                                                Unknown                      0.00
       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                     Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                          (Total of this page)            7,808.06              7,808.06
                                                                                                                             Total                           0.00
                                                                                                   (Report on Summary of Schedules)              7,808.06              7,808.06

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                                            Case 09-25593-jpk                            Doc 1          Filed 12/31/09        Page 21 of 76
 B6F (Official Form 6F) (12/07)


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   In re          Tin T. Vo,                                                                                                    Case No.
                  Lynn T. Vo
                                                                                                                          ,
                                                                                                        Debtors

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,                                            E               DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                     W
                 AND ACCOUNT NUMBER
                                                                                 B             CONSIDERATION FOR CLAIM. IF CLAIM               I   Q   U
                                                                                                                                                           AMOUNT OF CLAIM
                                                                                 T   J                                                         N   U   T
                                                                                 O               IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R
                                                                                     C
                                                                                                                                               E   D   D
                                                                                                                                               N   A
Account No. xxxx-xxxxxx-x1006                                                            7/2007                                                T   T
                                                                                                                                                   E
                                                                                         Credit Card lawsuit                                       D

American Express                                                                         64D05-0911-CC-11911
PO Box 981537                                                                        H
El Paso, TX 79998-1537

                                                                                                                                                                          8,865.00
Account No. xxx9802                                                                      Credit card

Apex Financial Management, LLC
P.O. Box 2219                                                                        J
Northbrook, IL 60065-2219

                                                                                                                                                                          3,170.75
Account No. xxxx-xxxx-xxxx-8506                                                          Credit card

Bank of America
c/o Frederick J. Hanna & Assoc                                                       H
1427 Roswell Road
Marietta, GA 30062
                                                                                                                                                                          6,419.42
Account No. x1177                                                                        9/30/2008
                                                                                         Misc. debt
Big C Lumber
PO Box 176                                                                       X J
Granger, IN 46530-0176

                                                                                                                                                                        73,153.08

                                                                                                                                             Subtotal
 11 continuation sheets attached
_____                                                                                                                                                                   91,608.25
                                                                                                                                   (Total of this page)




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   In re          Tin T. Vo,                                                                                                    Case No.
                  Lynn T. Vo
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                 B                                                             I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xxx469W                                                                      Legal Services                                            E
                                                                                                                                                   D

Blachly, Tabor, Bozik & Hartman, LLC
56 South Washington Street                                                       X J
Suite 401
Valparaiso, IN 46383
                                                                                                                                                                     18,408.85
Account No. xxxxxx-002W                                                                  2008
                                                                                         Legal Services
Blachly, Tabor, Bozik & Hartman, LLC
56 South Washington Street                                                       X J
Ste 401
Valparaiso, IN 46383
                                                                                                                                                                       1,181.25
Account No. xxxxx2789                                                                    11 to 12/2008
                                                                                         Security system
Brinks Home Security
PO Box 152235                                                                        J
Irving, TX 75015-2235

                                                                                                                                                                           75.00
Account No. 778                                                                          2/2008
                                                                                         Judgment 4/2008 64D04-0802-SC-778
Brothers LLC
c/o Langer & Langer                                                                  J
15 North Washington Street
Valparaiso, IN 46383
                                                                                                                                                                         820.00
Account No. xxxxxxxxxxxx5419                                                             Credit card

Capital Management Services, LP
726 Exchange Street                                                                  J
Suite 700
Buffalo, NY 14210
                                                                                                                                                                       5,360.94

           1
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                                     Subtotal
                                                                                                                                                                     25,846.04
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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   In re          Tin T. Vo,                                                                                                    Case No.
                  Lynn T. Vo
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
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                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                 B                                                             I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xxxxxxxx1672                                                                 4/2000                                                    E
                                                                                         Credit Card                                               D

Capital One
P.O. Box 30281                                                                       J
Salt Lake City, UT 84130-0281

                                                                                                                                                                     12,304.00
Account No. xxxx-xxxx-xxxx-9905                                                          2008
                                                                                         Credit Card
Capital One Bank
P.O. Box 60024                                                                       J
City Of Industry, CA 91716-0024

                                                                                                                                                                       5,737.58
Account No. xx0205                                                                       2008
                                                                                         Leasing charges for Sand Castle Construction
CC Services, Inc.                                                                        LLC
1711 GE Road                                                                     X H
P.O. Box 2020
Bloomington, IL 61702-2020
                                                                                                                                                                       2,253.20
Account No. xxxxxxxxxxxxxx9930                                                           Credit Card

Chase Bank
340 S. Cleveland Ave Bldg 370                                                        J
Westerville, OH 43081

                                                                                                                                                                         852.97
Account No. xxxx xxxx xxxx 3304                                                          6/2005
                                                                                         Credit card
Chase Cardmember Services
P.O. Box 94014                                                                       H
Palatine, IL 60094-4014

                                                                                                                                                                       1,200.43

           2
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                                     Subtotal
                                                                                                                                                                     22,348.18
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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   In re          Tin T. Vo,                                                                                                    Case No.
                  Lynn T. Vo
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                 B                                                             I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. x2327                                                                        10/28/2008                                                E
                                                                                         Credit services                                           D

Citicorp Vendor Finance
c/o McCarthy Burgess & Wolff                                                         H
The MB & W Bldg
26000 Cannon Road
Cleveland, OH 44146                                                                                                                                                  35,150.66
Account No. xxx6530                                                                      12/2008
                                                                                         Medical (Ambulance) Collection
City of Valparaiso
c/o Ann Arbor Credit Bureau                                                          J
PO Box 7820
Ann Arbor, MI 48107-7820
                                                                                                                                                                         449.40
Account No. xxxx6911                                                                     4/12/05
                                                                                         Lawsuit against Vintage Homes for services
Colvin Concrete, Inc.                                                                    45D08-0803-CC-0377
7235 Dekalb Street                                                               X J
8959 Broadway
Merrillville, IN 46410
                                                                                                                                                                     11,601.15
Account No. xxxx xx xxx xxx4324                                                          2008
                                                                                         Cable for Chop Stix
Comcast Cable
P.O. Box 3002                                                                    X J
Southeastern, PA 19398-3002

                                                                                                                                                                         565.03
Account No. xxx6635                                                                      3/2002
                                                                                         Credit Card
Discount Tire/GEMB
P.O. Box 960061                                                                      H
Orlando, FL 32896-0061

                                                                                                                                                                       2,405.00

           3
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                                     Subtotal
                                                                                                                                                                     50,171.24
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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   In re          Tin T. Vo,                                                                                                    Case No.
                  Lynn T. Vo
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xxxxxxxx5047                                                                 6/2002                                                    E
                                                                                         Credit Card                                               D

Discover Financial Services LLC
12 Reads Way                                                                         H
New Castle, DE 19720-1649

                                                                                                                                                                     10,806.00
Account No. xxxx-xxxx-xxxx-3304                                                          Credit Card

Financial Asset Management
Systems, Inc.                                                                        J
P.O. Box 451409
Atlanta, GA 31145-9409
                                                                                                                                                                       1,200.43
Account No. xxxxxxxxxxx0001                                                              7/2000
                                                                                         Credit Card
First Midwest Bank
PO Box 9003                                                                          H
Gurnee, IL 60031-9003

                                                                                                                                                                       1,605.27
Account No. xxxxxxxxx0001                                                            8/2007
                                                                                     Commercial Installment loan (individual
First State Bank of Porter                                                           personally liable; company is guarantor)
230 Lincoln Street                                                               X J 64D05-0901-PL-150
Chesterton, IN 46304-1814

                                                                                                                                                                     91,271.00
Account No. xxxxxxxxxx1027                                                               2008
                                                                                         Business loan
Harris Bank
PO Box 2880                                                                      X J
Chicago, IL 60690-2880

                                                                                                                                                                      Unknown

           4
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                                     Subtotal
                                                                                                                                                                   104,882.70
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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   In re          Tin T. Vo,                                                                                                    Case No.
                  Lynn T. Vo
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
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                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xxxxxxxxxx1029                                                               2008                                                      E
                                                                                         Business debt                                             D

Harris Bank
PO Box 2880                                                                          J
Chicago, IL 60690-2880

                                                                                                                                                                      Unknown
Account No. xxxx-xxxx-xxxx-5419                                                          Credit Card

Home Depot Credit Services
Processing Center                                                                    J
Des Moines, IA 50364-0500

                                                                                                                                                                       5,360.94
Account No. xxxxxx8463                                                                   3/2008
                                                                                         2001 BMW X5 Repossession deficiency
Horizon Bank                                                                             64D01-0904-CC-4334
515 Franklin St.                                                                     W
Michigan City, IN 46360-3328

                                                                                                                                                                     10,121.61
Account No. xxxxxx8373                                                                   12/1/2008
                                                                                         2004 Dodge Ram 1500 Repossession
Horizon Bank                                                                             Deficiency 64D01-0904-CC-4333
515 Franklin St.                                                                     H
Michigan City, IN 46360-3328

                                                                                                                                                                       8,391.77
Account No. xxxx-xxxx-xxxx-9243                                                          Credit card

HSBC Card Services
c/o Accounts Receivable Mgmt Inc                                                     W
PO Box 129
Thorofare, NJ 08086-0129
                                                                                                                                                                       2,423.61

           5
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                                     Subtotal
                                                                                                                                                                     26,297.93
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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   In re          Tin T. Vo,                                                                                                    Case No.
                  Lynn T. Vo
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xx5635                                                                       2006                                                      E
                                                                                         Misc. debt                                                D

Ingersoll Rand Financial Services
Div of CitiCapital Comm. Corp.                                                   X J
PO Box 6229
Carol Stream, IL 60197-6229
                                                                                                                                                                       2,021.84
Account No. 9167                                                                         10/2005
                                                                                         Lawsuit against Vintage Homes
Jason McKenna                                                                            64D01-0510-PL-9167
c/o James Sullivan                                                               X J
55 S. Franklin St.
Valparaiso, IN 46383
                                                                                                                                                                             0.00
Account No. 6233                                                                         11/2008
                                                                                         Collection lawsuit 64D06-0811-SC-06233
Juan Favela d/b/a Scorpion Drywall
c/o Weiss & Schmidgall PC                                                        X J
Six W. 73rd Avenue
Merrillville, IN 46410
                                                                                                                                                                       4,100.00
Account No. 642                                                                          2/2008
                                                                                         Small Claims lawsuit 64D04-0807-SC-3736 &
Julia Gray                                                                               64D04-0802-SC-642
1508 Aster Avenue                                                                    J
Valparaiso, IN 46383

                                                                                                                                                                       2,982.56
Account No. xx0717                                                                       3/2008
                                                                                         Misc. debt
Millennium Recycling Inc
1715 E 129th Street                                                              X J
Crown Point, IN 46307

                                                                                                                                                                         670.33

           6
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                                     Subtotal
                                                                                                                                                                       9,774.73
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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   In re          Tin T. Vo,                                                                                                    Case No.
                  Lynn T. Vo
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
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                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                 B                                                             I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xxxx-xxxx-xxxx-6304                                                          Credit Card                                               E
                                                                                                                                                   D

Nationwide Credit, Inc.
P.O. Box 740640                                                                      J
Atlanta, GA 30374-0640

                                                                                                                                                                     10,806.99
Account No. xxxx-xxxx-xxxx-9243                                                          1/2009
                                                                                         Factoring Company Account-Collection
NCA
PO Box 550                                                                           J
327 W Fourth Street
Hutchinson, KS 67504-0550
                                                                                                                                                                       2,765.00
Account No. x7689                                                                        2/2008
                                                                                         Medical bill
Nephrology Specialists PC
9201 Calumet Avenue                                                                  H
Munster, IN 46321-2807

                                                                                                                                                                       2,660.00
Account No. xxxxxxxxxxxx2099                                                         11/7/2007
                                                                                     Mortgage Foreclosure on Pepper Creek
Nuest Concrete Foundations LLC                                                       property 64D05-0812-MF-12099 consolidated
367 Devon Court                                                                  X J with 64D05-0806-MF-6113
Valparaiso, IN 46385

                                                                                                                                                                     18,517.00
Account No. x0945                                                                        10/10/2007
                                                                                         Misc. debt
Omega Steel & Contractor Supply Inc
1640 E. Main Street                                                              X J
Griffith, IN 46319

                                                                                                                                                                       2,692.54

           7
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                                     Subtotal
                                                                                                                                                                     37,441.53
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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   In re          Tin T. Vo,                                                                                                    Case No.
                  Lynn T. Vo
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                 B                                                             I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xxx4170                                                                      2/16/2008                                                 E
                                                                                         Medical bill                                              D

Porter Valparaiso Hospital Campus
c/o Credit Control LLC                                                               H
PO Box 248
Hazelwood, MO 63042
                                                                                                                                                                       7,872.10
Account No. CSI                                                                          5/9/2008
                                                                                         Judgment 8/21/2009
R & P Heating & Cooling                                                                  64D04-0903-SC-1532
1002 Locust Street                                                                   H
Valparaiso, IN 46383

                                                                                                                                                                       4,350.58
Account No. 1419                                                                         5/13/2009
                                                                                         Judgment-64D04-0903-SC-1419
Radiologic Assoc. of NW IND
825 E. Lincolnway                                                                    J
Valparaiso, IN 46383-5803

                                                                                                                                                                         768.96
Account No. 1337                                                                         4/30/2009
                                                                                         Default on Promissory Note
Rini Realty Co.                                                                          64D05-0911-CC-11337
c/o Weiss & Schmidgall, PC                                                           W
Six W. 73rd Avenue
Merrillville, IN 46410
                                                                                                                                                                     38,400.00
Account No. 1173                                                                         4/30/2009
                                                                                         Judgment 64D01-0902-CC-01173
Rini Realty Company
c/o Shaun T. Olsen                                                               X J
Six W. 73rd Avenue
Merrillville, IN 46410
                                                                                                                                                                   111,694.17

           8
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                                     Subtotal
                                                                                                                                                                   163,085.81
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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                                            Case 09-25593-jpk                            Doc 1          Filed 12/31/09        Page 30 of 76
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Tin T. Vo,                                                                                                    Case No.
                  Lynn T. Vo
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                 B                                                             I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xx2-5-CU                                                                     6/4/2009                                                  E
                                                                                         Balance of rent for Aqua Spa, LLC                         D

Rini Realty Company
PO Box 73180                                                                     X J
Cleveland, OH 44193

                                                                                                                                                                       4,479.84
Account No. 34                                                                           2/2007
                                                                                         Debt collection 45D01-0702-CC-34
Schilling Bros. Lumber & Hardware
8900 Wicker Ave.                                                                 X J
Saint John, IN 46373

                                                                                                                                                                       2,536.68
Account No. x1883                                                                        Maintenance Fees

Sonnenschein Financial Services
Two TransAm Plaza                                                                    J
Suite 300
Villa Park, IL 60181
                                                                                                                                                                         855.78
Account No. xxxxx-xx0697                                                                 5/15/2009
                                                                                         Private Sale to forclose upon the lien claim of
St. Johann Alpenland Resort                                                              the Corporation
Corporation                                                                          W
Two TransAm Plaza
Suite 300
Oakbrook Terrace, IL 60181-4817                                                                                                                                        1,403.62
Account No. xxxx xxxx xxxx 9895                                                          8/2002
                                                                                         Credit Card lawsuit 64D05-0812-CC-12186
Universal Card/Citi Cards
1500 Boltonfield Street                                                              H
Columbus, OH 43228

                                                                                                                                                                     15,859.29

           9
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                                     Subtotal
                                                                                                                                                                     25,135.21
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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                                            Case 09-25593-jpk                            Doc 1          Filed 12/31/09        Page 31 of 76
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Tin T. Vo,                                                                                                    Case No.
                  Lynn T. Vo
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                 B                                                             I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xxxxxxxxx9271                                                                12/23/2008                                                E
                                                                                         2006 Land Rover Range Rove Repossession                   D

US Bank                                                                                  deficiency
P.O. Box 5227, ML CN-OH-W15                                                      X J
Cincinnati, OH 45202-5227

                                                                                                                                                                     36,710.64
Account No. xxxxxx9271                                                                   11/2008
                                                                                         Mercedes SL600 Repossession deficiency
US Bank
Mail Location CN-W                                                                   J
425 Walnut Street
Cincinnati, OH 45202
                                                                                                                                                                     46,197.00
Account No. xxxxxxxxx9617                                                                12/2009
                                                                                         2004 Audi S4 repossession deficiency
US Bank NA Retail Lease
PO Box 2188                                                                      X J
Oshkosh, WI 54903-2188

                                                                                                                                                                     21,887.00
Account No. 1124                                                                         2/2008
                                                                                         Judgment 4/2008 64D04-0802-SC-1124
Von Tobel Lumber Inc.
c/o Douglas Koeppen & Hurley                                                     X J
14 Indiana Avenue
PO Box 209
Valparaiso, IN 46384-0209                                                                                                                                              2,069.67
Account No. xxxx-xxxx-xxxx-0600                                                          credit card

Washington Mutual
P.O. Box 660487                                                                      J
Dallas, TX 75266-0487

                                                                                                                                                                       8,064.57

           10 of _____
Sheet no. _____    11 sheets attached to Schedule of                                                                                         Subtotal
                                                                                                                                                                   114,928.88
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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                                            Case 09-25593-jpk                            Doc 1          Filed 12/31/09           Page 32 of 76
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Tin T. Vo,                                                                                                        Case No.
                  Lynn T. Vo
                                                                                                                           ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                             O                                                                  O   N   I
                    MAILING ADDRESS                                              D   H                                                              N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                                 B                                                                  I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                   (See instructions above.)                                     R                                                                  E   D   D
                                                                                                                                                    N   A
                                                                                                                                                    T   T
Account No. xxxxxx4310                                                                   3/11/2007                                                      E
                                                                                         Line of credit                                                 D

Washington Mutual
P.O. Box 660509                                                                      J
Dallas, TX 75266-0509

                                                                                                                                                                        148,750.00
Account No. xxxx-xxxx-xxxx-1928                                                          Credit card

Washington Mutual Card Services
PO Box 660487                                                                        H
Dallas, TX 75266-0487

                                                                                                                                                                            3,170.75
Account No. x0040                                                                        4/30/2008
                                                                                         Misc. debt
Zimco Materials Inc
5638 S US Hwy 421                                                                X J
Westville, IN 46391

                                                                                                                                                                            4,140.03
Account No.




Account No.




           11 of _____
Sheet no. _____    11 sheets attached to Schedule of                                                                                              Subtotal
                                                                                                                                                                        156,060.78
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
                                                                                                                                                    Total
                                                                                                                          (Report on Summary of Schedules)              827,581.28


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B6G (Official Form 6G) (12/07)


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  In re             Tin T. Vo,                                                                                     Case No.
                    Lynn T. Vo
                                                                                                        ,
                                                                                        Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                         Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                              State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                    State contract number of any government contract.

                     Rini Realty Company                                                   Lease for space with Chop Stix LLC at 2505
                     c/o Shaun T. Olsen                                                    LaPorte Avenue, Ste 121, Valparaiso, IN 46383
                     Six W. 73rd Avenue                                                    $70,200.00 rent per year payable in monthly
                     Merrillville, IN 46410                                                installments of $5,850.00 each for 10 years with
                                                                                           option to renew

                     Valparaiso-Falls Creek Development                                    Rental space for Aqua Spa, LLC d/b/a Aqua Nails
                     c/o Doppco Development Co                                             $70, 200 per year, payable in monthly installments
                     30195 Chagrin Blvd. Ste 110                                           of $5,850.00 for 10 years with option to renew
                     Pepper Pike, OH 44124




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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                                           Case 09-25593-jpk                    Doc 1   Filed 12/31/09      Page 34 of 76
B6H (Official Form 6H) (12/07)


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  In re          Tin T. Vo,                                                                                    Case No.
                 Lynn T. Vo
                                                                                                      ,
                                                                                        Debtors
                                                                      SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                             NAME AND ADDRESS OF CREDITOR

                  Aqua Spa, LLC                                                            First State Bank of Porter
                  1811 Woodmere Drive                                                      230 Lincoln Street
                  Valparaiso, IN 46383                                                     Chesterton, IN 46304-1814

                  Aqua Spa, LLC                                                            Rini Realty Company
                  1811 Woodmere Drive                                                      PO Box 73180
                  Valparaiso, IN 46383                                                     Cleveland, OH 44193

                  Chop Stix, Inc.                                                          Juan Favela d/b/a Scorpion Drywall
                  2505 LaPorte Ave., Ste 115                                               c/o Weiss & Schmidgall PC
                  Valparaiso, IN 46383                                                     Six W. 73rd Avenue
                                                                                           Merrillville, IN 46410

                  Chop Stix, Inc.                                                          Rini Realty Company
                  2502 LaPorte Ave, Ste 115                                                c/o Shaun T. Olsen
                  Valparaiso, IN 46383                                                     Six W. 73rd Avenue
                                                                                           Merrillville, IN 46410

                  Chop Stix, Inc.                                                          Comcast Cable
                  2502 LaPorte Ave, Ste 115                                                P.O. Box 3002
                  Valparaiso, IN 46383                                                     Southeastern, PA 19398-3002

                  Chop Stix,Inc.                                                           Indiana Dept of Revenue
                  2505 LaPorte Avenue Ste 115                                              Ind Govt Center North
                  Valparaiso, IN 46383                                                     100 N. Senate Ave
                                                                                           Indianapolis, IN 46204-2253

                  Sand Castle Construction LLC                                             Nuest Concrete Foundations LLC
                  1811 Woodmere Drive                                                      367 Devon Court
                  Valparaiso, IN 46383                                                     Valparaiso, IN 46385

                  Sand Castle Construction LLC                                             US Bank
                  1811 Woodmere Drive                                                      P.O. Box 5227, ML CN-OH-W15
                  Valparaiso, IN 46383                                                     Cincinnati, OH 45202-5227

                  Sand Castle Construction LLC                                             US Bank NA Retail Lease
                  1811 Woodmere Drive                                                      PO Box 2188
                  Valparaiso, IN 46383                                                     Oshkosh, WI 54903-2188

                  Sand Castle Construction LLC                                             CC Services, Inc.
                  1811 Woodmere Drive                                                      1711 GE Road
                  Valparaiso, IN 46383                                                     P.O. Box 2020
                                                                                           Bloomington, IL 61702-2020

                  Sand Castle Construction LLC                                             Omega Steel & Contractor Supply Inc
                  1811 Woodmere Drive                                                      1640 E. Main Street
                  Valparaiso, IN 46383                                                     Griffith, IN 46319



       2
               continuation sheets attached to Schedule of Codebtors
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                                           Case 09-25593-jpk                    Doc 1     Filed 12/31/09       Page 35 of 76




  In re          Tin T. Vo,                                                                                         Case No.
                 Lynn T. Vo
                                                                                                         ,
                                                                                          Debtors
                                                                      SCHEDULE H - CODEBTORS
                                                                                 (Continuation Sheet)


                    NAME AND ADDRESS OF CODEBTOR                                              NAME AND ADDRESS OF CREDITOR


                    Sand Castle Construction LLC                                              Zimco Materials Inc
                    1811 Woodmere Drive                                                       5638 S US Hwy 421
                    Valparaiso, IN 46383                                                      Westville, IN 46391

                    Sand Castle Construction LLC                                              Harris Bank
                    1811 Woodmere Drive                                                       PO Box 2880
                    Valparaiso, IN 46383                                                      Chicago, IL 60690-2880

                    Sand Castle construction LLC                                              Porter County Treasurer
                    1811 Woodmere Dr                                                          155 Indiana Ave
                    Valparaiso, IN 46383-1645                                                 Ste 209
                                                                                              Valparaiso, IN 46383

                    Vintage Original Construction, LLC                                        Porter County Treasurer
                    1811 Woodmere Dr                                                          155 Indiana Ave
                    Valparaiso, IN 46383-1645                                                 Ste 209
                                                                                              Valparaiso, IN 46383

                    Vintage Original Homes LLC                                                Colvin Concrete, Inc.
                    1811 Woodmere Drive                                                       7235 Dekalb Street
                    Valparaiso, IN 46383                                                      8959 Broadway
                                                                                              Merrillville, IN 46410

                    Vintage Original Homes LLC                                                Jason McKenna
                    1811 Woodmere Drive                                                       c/o James Sullivan
                    Valparaiso, IN 46383                                                      55 S. Franklin St.
                                                                                              Valparaiso, IN 46383

                    Vintage Original Homes LLC                                                Blachly, Tabor, Bozik & Hartman, LLC
                    1811 Woodmere Drive                                                       56 South Washington Street
                    Valparaiso, IN 46383                                                      Ste 401
                                                                                              Valparaiso, IN 46383

                    Vintage Original Homes LLC                                                Ingersoll Rand Financial Services
                    1811 Woodmere Drive                                                       Div of CitiCapital Comm. Corp.
                    Valparaiso, IN 46383                                                      PO Box 6229
                                                                                              Carol Stream, IL 60197-6229

                    Vintage Original Homes LLC                                                Big C Lumber
                    1811 Woodmere Drive                                                       PO Box 176
                    Valparaiso, IN 46383                                                      Granger, IN 46530-0176

                    Vintage Original Homes LLC                                                Millennium Recycling Inc
                    1811 Woodmere Drive                                                       1715 E 129th Street
                    Valparaiso, IN 46383                                                      Crown Point, IN 46307

                    Vintage Original Homes LLC                                                Porter County Treasurer
                    1811 Woodmere Dr                                                          155 Indiana Ave
                    Valparaiso, IN 46383-1645                                                 Ste 209
                                                                                              Valparaiso, IN 46383




     Sheet      1      of 2         continuation sheets attached to the Schedule of Codebtors

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                                           Case 09-25593-jpk                    Doc 1     Filed 12/31/09     Page 36 of 76




  In re          Tin T. Vo,                                                                                     Case No.
                 Lynn T. Vo
                                                                                                        ,
                                                                                          Debtors
                                                                      SCHEDULE H - CODEBTORS
                                                                                 (Continuation Sheet)


                    NAME AND ADDRESS OF CODEBTOR                                              NAME AND ADDRESS OF CREDITOR


                    Vintage Original Homes, LLC                                               Schilling Bros. Lumber & Hardware
                    1811 Woodmere Drive                                                       8900 Wicker Ave.
                    Valparaiso, IN 46383                                                      Saint John, IN 46373

                    Vintage Original Homes, LLC                                               Von Tobel Lumber Inc.
                    1811 Woodmere Drive                                                       c/o Douglas Koeppen & Hurley
                    Valparaiso, IN 46383                                                      14 Indiana Avenue
                                                                                              PO Box 209
                                                                                              Valparaiso, IN 46384-0209

                    Vintage Original Homes, LLC                                               Blachly, Tabor, Bozik & Hartman, LLC
                    1811 Woodmere Drive                                                       56 South Washington Street
                    Valparaiso, IN 46383                                                      Suite 401
                                                                                              Valparaiso, IN 46383




     Sheet      2      of 2         continuation sheets attached to the Schedule of Codebtors

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                                 Case 09-25593-jpk            Doc 1       Filed 12/31/09           Page 37 of 76
B6I (Official Form 6I) (12/07)

          Tin T. Vo
 In re    Lynn T. Vo                                                                                    Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                Son                                                         3
                                             Son                                                         5
Employment:                                               DEBTOR                                            SPOUSE
Occupation                                                                                   Babysitting
Name of Employer                     Disability                                              Unemployed/Babysitting
How long employed                    1/2009                                                  1 month
Address of Employer

INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $        993.00          $          300.00
2. Estimate monthly overtime                                                                             $          0.00          $            0.00

3. SUBTOTAL                                                                                              $             993.00     $          300.00


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $               0.00     $             0.00
     b. Insurance                                                                                        $               0.00     $             0.00
     c. Union dues                                                                                       $               0.00     $             0.00
     d. Other (Specify):                                                                                 $               0.00     $             0.00
                                                                                                         $               0.00     $             0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $               0.00     $             0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $             993.00     $          300.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $               0.00     $             0.00
8. Income from real property                                                                             $               0.00     $             0.00
9. Interest and dividends                                                                                $               0.00     $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $               0.00     $             0.00
11. Social security or government assistance
(Specify):           Children Social Security $250 each                                                  $             500.00     $             0.00
                     Food Stamps                                                                         $             669.00     $             0.00
12. Pension or retirement income                                                                         $               0.00     $             0.00
13. Other monthly income
(Specify):           Doung Vo                                                                            $             540.00     $             0.00
                                                                                                         $               0.00     $             0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         1,709.00       $             0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         2,702.00       $          300.00

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            3,002.00
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                 Case 09-25593-jpk      Doc 1      Filed 12/31/09        Page 38 of 76
B6J (Official Form 6J) (12/07)

          Tin T. Vo
 In re    Lynn T. Vo                                                                          Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 2,585.00
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes X              No
2. Utilities:      a. Electricity and heating fuel                                                          $                   150.00
                   b. Water and sewer                                                                       $                    70.00
                   c. Telephone                                                                             $                    60.00
                   d. Other Cable                                                                           $                    25.00
3. Home maintenance (repairs and upkeep)                                                                    $                     0.00
4. Food                                                                                                     $                   669.00
5. Clothing                                                                                                 $                     0.00
6. Laundry and dry cleaning                                                                                 $                    10.00
7. Medical and dental expenses                                                                              $                     0.00
8. Transportation (not including car payments)                                                              $                    80.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                     0.00
10. Charitable contributions                                                                                $                     0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                   130.00
                   b. Life                                                                                  $                   179.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                   100.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify) Back taxes adjusted real estate, excrow to Freedom Mtg                            $                  300.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other Homeowners Association                                                          $                   130.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other                                                                                                   $                     0.00
    Other                                                                                                   $                     0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 4,488.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 3,002.00
b. Average monthly expenses from Line 18 above                                                              $                 4,488.00
c. Monthly net income (a. minus b.)                                                                         $                -1,486.00
                                       Case 09-25593-jpk                         Doc 1       Filed 12/31/09   Page 39 of 76
B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                                  United States Bankruptcy Court
                                                                           Northern District of Indiana
             Tin T. Vo
 In re       Lynn T. Vo                                                                                          Case No.
                                                                                             Debtor(s)           Chapter    7




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                     DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                      I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of       29
             sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date December 31, 2009                                                         Signature    /s/ Tin T. Vo
                                                                                             Tin T. Vo
                                                                                             Debtor


 Date December 31, 2009                                                         Signature    /s/ Lynn T. Vo
                                                                                             Lynn T. Vo
                                                                                             Joint Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (12/07)



                                                                  United States Bankruptcy Court
                                                                           Northern District of Indiana
             Tin T. Vo
 In re       Lynn T. Vo                                                                                           Case No.
                                                                                             Debtor(s)            Chapter     7


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $1,900.00                                Diamond Nails-Wife-2009
                           $16,000.00                               Business-Husband-2008
                           $18,600.00                               Business-Husband-2007
                           $0.00                                    Business-Wife-2008
                           $0.00                                    Business-Wife-2007




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               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $11,916.00                               Disability-Husband-2009
                           $669.00                                  Food stamps-Husband-2009

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
               of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                                AMOUNT STILL
      OF CREDITOR                                                                  PAYMENTS                             AMOUNT PAID           OWING
 Freedom Mortgage                                                                  1,295/ monthly                          $3,885.00       $205,000.00
 Interstate Commerce Center
 Bldg. 9, Ste 200
 Norfolk, VA 23502
 Porter Bank                                                                       Two payments @$585.00                   $1,170.00        $52,000.00
 230 Lincoln Street
 Chesterton, IN 46304

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or
               both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                            AMOUNT
                                                                                   DATES OF                                  PAID OR
                                                                                   PAYMENTS/                               VALUE OF        AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                              TRANSFERS          OWING

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                          AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT                      AMOUNT PAID          OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY                STATUS OR
 AND CASE NUMBER                                NATURE OF PROCEEDING                         AND LOCATION                   DISPOSITION
 American Express Bank,                         Civil Collection                             Porter Circuit Court,          Complaint filed 11-23-2009
 FSB vs. Tin Vo Cause No                                                                     Valparaiso, IN
 64D05-0911-CC-11911

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 CAPTION OF SUIT                                                                             COURT OR AGENCY                STATUS OR
 AND CASE NUMBER                                NATURE OF PROCEEDING                         AND LOCATION                   DISPOSITION
 Brothers, LLC vs. Tin Vo                       Small Claims                                 Porter Superior Court,         Default Judgment 4-11-2008
 Cause No.                                                                                   Valparaiso, IN
 64D04-0802-SC-778
 Citibank (South Dakota) NA                     Civil Collection                             Porter Circuit Court,          Motion for Default Judgment
 vs. Tin Vo Cause No.                                                                        Valparaiso, IN                 2-12-2009
 64D05-0812-CC-12186
 Colvin Concrete, Inc. vs.                      Civil Collection                             Lake Superior Court, Crown     Default Judgment 6/23/2008
 Dustin Vo dba Vintage                                                                       Point, IN
 Homes Cause No.
 45D08-0803-CC-0377
 Juan Favela d/b/a Scorpion                     Small Claims                                 Porter Superior Court,
 Drywall vs. Tim Vo. et al                                                                   Portage,IN
 Cause No.
 64D06-0811-SC-06233
 First State Bank of Porter vs. Plenary                                                      Porter Circuit Court,
 Aqua Spa, LLC Tin T. Vo,                                                                    Valparaiso, IN
 Lynn T. Vo, Horizon Bank
 National Assoc, Mortgage
 Electronic Registration
 Systems, Inc., and National
 City Bank Cause No
 64D05-0901-PL-150
 Julia Gray vs. Dustin Vo and                   Small Claims                                 Porter Superior Court,         Notice of Claim 2-5-2008
 Lynn Vo Cause No.                                                                           Valparaiso, IN
 64D04-0802-SC-642
 Julia Gray vs. Lynn Vo                         Small Claims                                 Porter Superior Court,         Contempt of Court 4/22/2009
 Cause No.                                                                                   Valparaiso, IN
 64D04-0807-SC-3736
 Harris N.A. vs. Sand Castle                    Mortgage Foreclosure                         Porter Superior Court,         Property surrendered-Deed in
 Construction, LLC, Tin Vo                                                                   Valparaiso, IN                 Lieu of Foreclosure
 and Lynn T. Vo Cause No.
 64D05-0806-MF-6113
 Horizon Bank NA vs. Tin T                      Civil Collection                             Porter Superior Court,         Dismissed 6/16/2009
 Vo Cause No                                                                                 Valparaiso, IN
 64D01-0904-CC-4333
 Horizon Bank N.A. vs. Lynn                     Civil Collection                             Porter Superior Court,         Dismissed 6-16-2009
 T Vo Cause No.                                                                              Valparaiso, IN
 64D01-0904-CC-4334
 Jason McKenna vs. Dustin                       Plenary                                      Porter Superior Court,
 Vo dba Vintage Homes                                                                        Valparaiso, IN
 Cause No.
 64D01-0510-PL-9167
 Nuest Concrete                                 Mortgage Foreclosure                         Porter Circuit Court,          Complaint filed 12-10-2008
 Foundations, LLC vs. Sand                                                                   Valparaiso, IN
 Castle Construction, LLC,
 Tin and Lynn Vo, Harris, NA
 and Dustin Vo Cause No.
 64D05-0812-MF-12099
 consolidated wtith Harris
 N.A. vs.Sand Castle
 Construction, LLC Tin Vo
 and Lynn T. Vo under Cause
 No. 64D05-0806-MF-6113
 R & P Heating & Cooling vs.                    Small Claims                                 Porter Superior Court,         Judgment 8/21/2009
 Dustin Vo Cause No.                                                                         Valparaiso, IN
 64D04-0903-SC-1532

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 CAPTION OF SUIT                                                                             COURT OR AGENCY                STATUS OR
 AND CASE NUMBER                                NATURE OF PROCEEDING                         AND LOCATION                   DISPOSITION
 Radiologic Assoc of NW IN                      Small Claims                                 Porter Superior Court,         Judgment 5/13/2009
 Inc. vs. Tin T. Vo Cause No                                                                 Valparaiso, IN
 64D04-0903-SC-1419
 Rini Realty Company vs.                        Civil Collection                             Porter Superior Court,         Judgement of $111,694.17
 Chop Stix, LLC, Dustin Vo,                                                                  Valparaiso, IN                 4/30/2009
 Montri Boonprasarn, Janet
 Boonprasarn Cause No.
 64D01-0902-CC-1173
 Rini Realty Company vs                         Civil Collection                             Porter Circuit Court,          Complaint filed 11-6-2009
 Lynn Vo Cause No.                                                                           Valparaiso, IN
 64D05-0911-CC-11337
 Schilling Brothers Lumber                      Civil Collection                             Lake Superior Court, Crown
 and Hardware, Inc. vs.                                                                      Point, IN
 Dustin Vo dba Vintage
 Homes and Vo Homes
 Cause NO.
 45D01-0702-CC-34
 Von Tobel Lumber Co., Inc.                     Small Claims                                 Porter Superior Court,
 vs. Tin Than Vo Caue No.                                                                    Valparaiso, IN
 64D04-0802-SC-1124

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                     DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE                  PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                          DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                        FORECLOSURE SALE,               DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                       TRANSFER OR RETURN                       PROPERTY
 Horizon Bank, NA                                                       10/13/2008                          2001 BMW X5 $10,121.61
 PO Box 800
 Michigan City, IN 46361-0800
 Horizon Bank, NA                                                       10/9/2008                           2004 Dodge Ram $8,391.77
 PO Box 800
 Michigan City, IN 46361-0800
 US Bank                                                                12/23/2008                          2006 Land Rover Range Rove $36,710.64
 PO Box 2407
 Minneapolis, MN 55402
 US Bank                                                                11/13/2009                          2004 Audi S4 Vin #WAUPL68E24A026962
 PO Box 2407                                                                                                $21,887.78
 Minneapolis, MN 55402
 US Bank                                                                                                    Mercedes SL600 $41,197.00
 Mail Location CN-W
 425 Walnut Street
 Cincinnati, OH 45202




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               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                   ORDER               PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                      DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT     VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS         DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                    DATE OF PAYMENT,                         AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                 OR DESCRIPTION AND VALUE
     OF PAYEE                                                                         THAN DEBTOR                               OF PROPERTY
 Law Office of Alan D. Naggatz                                                    Summer 2009 Tin and Lynn Vo           $1,800.00
 175 W. Lincolnway Suite I
 Valparaiso, IN 46383
 Black Hills Children's Ranch, Inc.                                               9/3/2009 Tin and Lynn Vo              $70.00
 1644 Concourse Drive
 Rapid City, SD 57703




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               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                       DESCRIBE PROPERTY TRANSFERRED
       RELATIONSHIP TO DEBTOR                                                   DATE                           AND VALUE RECEIVED
 Hiep Nguyen                                                                                           11 Manchester Meadows, Valparaiso, IN
 654 Wood Stream Crossing                                                                              $92,250.00 (amount of loan to Indymac Bank)
 Valparaiso, IN 46385
    Co-debtor's father
 Harris N.A.                                                                                           4 lots in Beauty Creek, Valparaiso, Indiana
 PO Box 2880                                                                                           Deed in Lieu of Foreclosure
 Chicago, IL 60690-2880
   None
 Harris N.A.                                                                                           1 lot in Pepper Creek with home, Valparaiso,
 PO Box 2880                                                                                           Indiana Deed in Lieu of Foreclosure
 Chicago, IL 60690-2880
   None
 Eduardo Mendoza                                                                6/29/2009              2653 Walker Drive, Valparaiso, IN 46383
 2653 Walker Drive                                                                                     $28,000 paid directly to Harris N.A. from
 Valparaiso, IN 46385-7035                                                                             Receiver
    None
 Paul and Tammy A. Sink                                                         5/29/2009              2551 Beauty Creek Drive, Valparaiso, IN
 2551 Beauty Creek Drive                                                                               $30,000 paid directly to Harris N.A. by Receiver
 Valparaiso, IN 46385-7037
    None
 Harris N.A.                                                                                           1 lot in Manchester Meadows, Valparaiso, IN
 PO Box 2880                                                                                           Deed in Lieu of Foreclosure
 Chicago, IL 60690-2880
   None

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                                AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF             VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)            IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                    DIGITS OF ACCOUNT NUMBER,             AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                    OR CLOSING
 Chase                                                                            Aqua Spa # xxxxx1282 Checking           9/2009 $0.00
 PO Box 260180                                                                    Account
 Baton Rouge, LA 70826-0180
 Chase                                                                            Personal Checking                       Summer 2009
 PO Box 260180
 Baton Rouge, LA 70826-0180



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               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                        DESCRIPTION           DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                        OF CONTENTS            SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                          AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                    DESCRIPTION AND VALUE OF PROPERTY                  LOCATION OF PROPERTY
 Duong Vo                                                     2009 Toyota Camry $27,000                          With Debtors
 3204 Bent Tree Crossing
 Valparaiso, IN 46385-9318
 Hiep Nguyen                                                  2004 Kawasaki ZX10 $4,000                          With Debtors
 654 Wood Stream Crossing
 Valparaiso, IN 46385
 The Vo                                                       2006 Acura RSX                 $12,000             With Debtors
 3204 Bent Tree Crossing
 Valparaiso, IN 46385

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                          NAME USED                               DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME




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               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                       DATE OF               ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                         NOTICE                LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                       DATE OF               ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                         NOTICE                LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                        STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                     LAST FOUR DIGITS OF
                                     SOCIAL-SECURITY OR
                                     OTHER INDIVIDUAL
                                     TAXPAYER-I.D. NO.                                                                           BEGINNING AND
 NAME                                (ITIN)/ COMPLETE EIN                  ADDRESS                      NATURE OF BUSINESS       ENDING DATES
 Sand Castle                         6083                                  1811 Woodmere Drive          Construction             10/17/2006 to present
 Construction , LLC                                                        Valparaiso, IN 46383
 Aqua Spa, LLC                                                             1811 Woodmere Drive          Nail Salon               8/22/2006
                                                                           Valparaiso, IN 46383
 Vintage Original                                                          1811 Woodmere Drive          Construction             5/26/2004
 Homes, LLC                                                                Valparaiso, IN 46383




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                                                                                                                                                                9

                                     LAST FOUR DIGITS OF
                                     SOCIAL-SECURITY OR
                                     OTHER INDIVIDUAL
                                     TAXPAYER-I.D. NO.                                                                               BEGINNING AND
 NAME                                (ITIN)/ COMPLETE EIN                  ADDRESS                         NATURE OF BUSINESS        ENDING DATES
 Chop Stix, Inc.                     4001                                  2505 LaPorte Ave. Ste 115                                 10/17/2007
                                                                           Valparaiso, IN 46383

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                                DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                                   DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                               ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                         DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                                 DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                      (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS




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                                                                                                                                                               10

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                               NATURE OF INTEREST                     PERCENTAGE OF INTEREST
 Tin Vo                                                                         Sand Castle Construction LLC           100%
 1811 Woodmere Drive
 Valparaiso, IN 46383
 Tin Vo                                                                         Aqua Spa, LLC                          50%
 1811 Woodmere Drive
 Valparaiso, IN 46383
 Lynn Vo                                                                        Aqua Spa, LLC                          50%
 1811 Woodmere Drive
 Valparaiso, IN 46383
 Tin Vo                                                                         Vintage Original Homes, LLC            50%
 1811 Woodmere Drive
 Valparaiso, IN 46383
 Lynn Vo                                                                        Vintage Original Homes, LLC            50%
 1811 Woodmere Drive
 Valparaiso, IN 46383
 Tin Vo                                                                         Chop Stix, Inc.                        60%
 1811 Woodmere Drive
 Valparaiso, IN 46383
 Montri and Janet Boonprasarn                                                   Chop Stix, Inc.                        40%
 7084 W 400 N
 Michigan City, IN 46360

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                              ADDRESS                                            DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                           DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                        AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                       OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                          VALUE OF PROPERTY




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                                                                                                                                                                     11

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                                   TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                         TAXPAYER IDENTIFICATION NUMBER (EIN)


                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date December 31, 2009                                                         Signature    /s/ Tin T. Vo
                                                                                             Tin T. Vo
                                                                                             Debtor


 Date December 31, 2009                                                         Signature    /s/ Lynn T. Vo
                                                                                             Lynn T. Vo
                                                                                             Joint Debtor

                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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B8 (Form 8) (12/08)
                                                                 United States Bankruptcy Court
                                                                          Northern District of Indiana
             Tin T. Vo
 In re       Lynn T. Vo                                                                                            Case No.
                                                                                           Debtor(s)               Chapter     7


                                  CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                           Describe Property Securing Debt:
 First State Bank of Porter                                                                 1811 Woodmere Drive, Valparaiso, IN 46383; 3 bedrooms,
                                                                                            basement, attach 3 car garage

 Property will be (check one):
        Surrendered                                                             Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain Debtor will remain in possession and continue payments without reaffirming (for example, avoid lien
      using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                      Not claimed as exempt

 Property No. 2

 Creditor's Name:                                                                           Describe Property Securing Debt:
 Freedom Mortgage                                                                           1811 Woodmere Drive, Valparaiso, IN 46383; 3 bedrooms,
                                                                                            basement, attach 3 car garage

 Property will be (check one):
        Surrendered                                                             Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain Debtor will retain possession and continue making regular payments. (for example, avoid lien using
      11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                      Not claimed as exempt




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B8 (Form 8) (12/08)                                                                                                                                 Page 2
 Property No. 3

 Creditor's Name:                                                                           Describe Property Securing Debt:
 National City                                                                              1811 Woodmere Drive, Valparaiso, IN 46383; 3 bedrooms,
                                                                                            basement, attach 3 car garage

 Property will be (check one):
        Surrendered                                                             Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain Debtor will remain in possession and continue payments without reaffirming (for example, avoid lien
      using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                      Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                                   Describe Leased Property:                      Lease will be Assumed pursuant to 11
 Rini Realty Company                                              Lease for space with Chop Stix LLC at          U.S.C. § 365(p)(2):
                                                                  2505 LaPorte Avenue, Ste 121,                     YES              NO
                                                                  Valparaiso, IN 46383
                                                                  $70,200.00 rent per year payable in
                                                                  monthly installments of $5,850.00 each
                                                                  for 10 years with option to renew



 Property No. 2

 Lessor's Name:                                                   Describe Leased Property:                      Lease will be Assumed pursuant to 11
 Valparaiso-Falls Creek Development                               Rental space for Aqua Spa, LLC d/b/a     U.S.C. § 365(p)(2):
                                                                  Aqua Nails $70, 200 per year, payable in    YES              NO
                                                                  monthly installments of $5,850.00 for 10
                                                                  years with option to renew




I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date December 31, 2009                                                        Signature   /s/ Tin T. Vo
                                                                                           Tin T. Vo
                                                                                           Debtor


 Date December 31, 2009                                                        Signature   /s/ Lynn T. Vo
                                                                                           Lynn T. Vo
                                                                                           Joint Debtor




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                                                                 United States Bankruptcy Court
                                                                          Northern District of Indiana
             Tin T. Vo
 In re       Lynn T. Vo                                                                                              Case No.
                                                                                            Debtor(s)                Chapter    7


                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                        $                  1,800.00
              Prior to the filing of this statement I have received                                              $                  1,800.00
              Balance Due                                                                                        $                      0.00

2.     $    299.00         of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                   Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                   Debtor                  Other (specify):

5.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                                       CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       December 31, 2009                                                             /s/ Alan D. Naggatz
                                                                                            Alan D. Naggatz 17479-64
                                                                                            Law Office Alan D. Naggatz
                                                                                            175 W. Lincolnway, Suite I
                                                                                            Valparaiso, IN 46383
                                                                                            219-476-7222 Fax: 219-476-7021
                                                                                            naggatzlaw@aol.com




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B 201A (Form 201A) (12/09)

WARNING: Effective December 1, 2009, the 15-day deadline to file schedules and certain other documents under Bankruptcy
             Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2
                                                        UNITED STATES BANKRUPTCY COURT
                                                         NORTHERN DISTRICT OF INDIANA
                                           NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                    OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

             Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

             Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
             $39 administrative fee: Total fee $274)


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Form B 201A, Notice to Consumer Debtor(s)                                                                                          Page 2

         Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over
a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

             Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.

Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to require
action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter 13 plan; Rule
8009(a), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.




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B 201B (Form 201B) (12/09)
                                                                 United States Bankruptcy Court
                                                                          Northern District of Indiana
             Tin T. Vo
 In re       Lynn T. Vo                                                                                           Case No.
                                                                                        Debtor(s)                 Chapter        7


                                      CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                          UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                              Certification of Debtor
             I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
 Tin T. Vo
 Lynn T. Vo                                                                               X /s/ Tin T. Vo                            December 31, 2009
 Printed Name(s) of Debtor(s)                                                               Signature of Debtor                      Date

 Case No. (if known)                                                                      X /s/ Lynn T. Vo                           December 31, 2009
                                                                                            Signature of Joint Debtor (if any)       Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                                  United States Bankruptcy Court
                                                                           Northern District of Indiana
             Tin T. Vo
 In re       Lynn T. Vo                                                                                          Case No.
                                                                                             Debtor(s)           Chapter    7




                                                 VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date:      December 31, 2009                                                   /s/ Tin T. Vo
                                                                                Tin T. Vo
                                                                                Signature of Debtor

 Date:      December 31, 2009                                                   /s/ Lynn T. Vo
                                                                                Lynn T. Vo
                                                                                Signature of Debtor




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            AMERICAN EXPRESS
            PO BOX 981537
            EL PASO, TX 79998-1537


            AMERICAN EXPRESS
            C/O ZWICKER & ASSOCIATES PC
            80 MINUTEMAN RD
            ANDOVER, MA 01810-1008


            AMERICAN EXPRESS
            C/O STEPHEN J. LERCH
            2001 REED ROAD,STE 100
            FORT WAYNE, IN 46815


            APEX FINANCIAL MANAGEMENT, LLC
            P.O. BOX 2219
            NORTHBROOK, IL 60065-2219


            AQUA SPA, LLC
            1811 WOODMERE DRIVE
            VALPARAISO, IN 46383


            BANK OF AMERICA
            C/O FREDERICK J. HANNA & ASSOC
            1427 ROSWELL ROAD
            MARIETTA, GA 30062


            BANK OF AMERICA
            P.O. BOX 5270
            CAROL STREAM, IL 60197-5270


            BANK OF AMERICA
            C/O NATL ENTERPRISE SYSTEMS
            29125 SOLON ROAD
            SOLON, OH 44139-3442


            BIG C LUMBER
            PO BOX 176
            GRANGER, IN 46530-0176
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        BLACHLY, TABOR, BOZIK & HARTMAN, LLC
        56 SOUTH WASHINGTON STREET
        SUITE 401
        VALPARAISO, IN 46383


        BLACHLY, TABOR, BOZIK & HARTMAN, LLC
        56 SOUTH WASHINGTON STREET
        STE 401
        VALPARAISO, IN 46383


        BRINKS HOME SECURITY
        PO BOX 152235
        IRVING, TX 75015-2235


        BROTHERS LLC
        C/O LANGER & LANGER
        15 NORTH WASHINGTON STREET
        VALPARAISO, IN 46383


        CAPITAL MANAGEMENT SERVICES, LP
        726 EXCHANGE STREET
        SUITE 700
        BUFFALO, NY 14210


        CAPITAL ONE
        P.O. BOX 30281
        SALT LAKE CITY, UT 84130-0281


        CAPITAL ONE
        P.O. BOX 30285
        SALT LAKE CITY, UT 84130-0285


        CAPITAL ONE BANK
        P.O. BOX 60024
        CITY OF INDUSTRY, CA 91716-0024


        CC SERVICES, INC.
        1711 GE ROAD
        P.O. BOX 2020
        BLOOMINGTON, IL 61702-2020
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        CHASE
        C/O CAPITAL MGMT SERVICES LP
        726 EXCHANGE ST., STE 700
        BUFFALO, NY 14210


        CHASE
        800 BROOKSEDGE
        COLUUMBUS, OH 43081


        CHASE
        C/O VALENTINE & KEBARTAS INC
        PO BOX 325
        LAWRENCE, MA 01842-0325


        CHASE
        C/O FINANCIAL ASSET MGMT SYSTEMS INC
        PO BOX 451409
        ATLANTA, GA 31145-9409


        CHASE BANK
        340 S. CLEVELAND AVE BLDG 370
        WESTERVILLE, OH 43081


        CHASE BANK
        NATIONAL PAYMENT SERVICES
        P.O. BOX 182223
        DEPT. OH1-1272
        COLUMBUS, OH 43218


        CHASE CARDMEMBER SERVICES
        P.O. BOX 94014
        PALATINE, IL 60094-4014


        CHOP STIX,INC.
        2505 LAPORTE AVENUE STE 115
        VALPARAISO, IN 46383


        CITICORP VENDOR FINANCE
        C/O MCCARTHY BURGESS & WOLFF
        THE MB & W BLDG
        26000 CANNON ROAD
        CLEVELAND, OH 44146
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        CITY OF VALPARAISO
        C/O ANN ARBOR CREDIT BUREAU
        PO BOX 7820
        ANN ARBOR, MI 48107-7820


        COLVIN CONCRETE INC.
        C/O JOHN P. BUSHEMI
        HOEPPNER WAGNER & EVANS LLP
        1000 E. 80TH PLACE, 6TH FLOOR
        MERRILLVILLE, IN 46410


        COLVIN CONCRETE, INC.
        7235 DEKALB STREET
        8959 BROADWAY
        MERRILLVILLE, IN 46410


        COMCAST CABLE
        P.O. BOX 3002
        SOUTHEASTERN, PA 19398-3002


        DISCOUNT TIRE
        C/O GEMB
        PO BOX 981439
        EL PASO, TX 79998-1439


        DISCOUNT TIRE
        C/O ENCORE RECEIVABLE MGMT INC
        400 N ROGERS RD. P.O. BOX 3330
        OLATHE, KS 66063-3330


        DISCOUNT TIRE/GEMB
        P.O. BOX 960061
        ORLANDO, FL 32896-0061


        DISCOVER CARD
        P.O. BOX 15251
        WILMINGTON, DE 19886-5251


        DISCOVER CARD
        C/O NATIONWIDE CREDIT INC
        PO BOX 740640
        ATLANTA, GA 30374-0640
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        DISCOVER FINANCIAL SERVICE
        PO BOX 15316
        WILMINGTON, DE 19850-5316


        DISCOVER FINANCIAL SERVICES LLC
        12 READS WAY
        NEW CASTLE, DE 19720-1649


        FINANCIAL ASSET MANAGEMENT SYSTEMS, INC.
        P.O. BOX 451409
        ATLANTA, GA 31145-9409


        FIRST MIDWEST BANK
        PO BOX 9003
        GURNEE, IL 60031-9003


        FIRST STATE BANK OF PORTER
        230 LINCOLN STREET
        CHESTERTON, IN 46304-1814


        FREEDOM MORTGAGE
        INTERSTATE COMMERCE CENTER
        BLDG 9, STE 200
        NORFOLK, VA 23502


        HARRIS BANK
        PO BOX 2880
        CHICAGO, IL 60690-2880


        HARRIS INDIANAPOLIS
        3901 W 86TH STREET
        STE 130
        INDIANAPOLIS, IN 46268


        HARRIS NA
        C/O BOSE MCKINNEY & EVANS LLP
        111 MONUMENT CIRCLE, STE 2700
        INDIANAPOLIS, IN 46204
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        HOME DEPOT CREDIT SERVICES
        PROCESSING CENTER
        DES MOINES, IA 50364-0500


        HOME DEPOT CREDIT SERVICES
        PO BOX 689100
        DES MOINES, IA 50368-9100


        HOME DEPOT CREDIT SERVICES
        C/O CAPITAL MGMT SERVICES LP
        726 EXCHANGE ST., STE 700
        BUFFALO, NY 14210


        HORIZON BANK
        515 FRANKLIN ST.
        MICHIGAN CITY, IN 46360-3328


        HORIZON BANK
        C/O CASALE WOODWARD & BULS
        9223 BROADWAY STE A
        MERRILLVILLE, IN 46410


        HSBC CARD SERVICES
        C/O ACCOUNTS RECEIVABLE MGMT INC
        PO BOX 129
        THOROFARE, NJ 08086-0129


        HSBC CARD SERVICES
        P.O. BOX 81622
        SALINAS, CA 93912-1622


        INDIANA DEPARTMENT OF REVENUE
        PO BOX 1028
        INDIANAPOLIS, IN 46206-1028


        INDIANA DEPT OF REVENUE
        IND GOVT CENTER NORTH
        100 N. SENATE AVE
        INDIANAPOLIS, IN 46204-2253
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        INGERSOLL RAND FINANCIAL SERVICES
        DIV OF CITICAPITAL COMM. CORP.
        PO BOX 6229
        CAROL STREAM, IL 60197-6229


        INTERNAL REVENUE SERVICE
        P.O. BOX 21126
        PHILADELPHIA, PA 19114


        JASON MCKENNA
        C/O JAMES SULLIVAN
        55 S. FRANKLIN ST.
        VALPARAISO, IN 46383


        JUAN FAVELA D/B/A SCORPION DRYWALL
        C/O WEISS & SCHMIDGALL PC
        SIX W. 73RD AVENUE
        MERRILLVILLE, IN 46410


        JULIA GRAY
        1508 ASTER AVENUE
        VALPARAISO, IN 46383


        MILLENNIUM RECYCLING INC
        1715 E 129TH STREET
        CROWN POINT, IN 46307


        NATIONAL CITY
        PO BOX 856153
        LOUISVILLE, KY 40285-6153


        NATIONWIDE CREDIT, INC.
        P.O. BOX 740640
        ATLANTA, GA 30374-0640


        NCA
        PO BOX 550
        327 W FOURTH STREET
        HUTCHINSON, KS 67504-0550
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        NEPHROLOGY SPECIALISTS PC
        9201 CALUMET AVENUE
        MUNSTER, IN 46321-2807


        NUEST CONCRETE FOUNDATIONS LLC
        367 DEVON COURT
        VALPARAISO, IN 46385


        OMEGA STEEL & CONTRACTOR SUPPLY INC
        1640 E. MAIN STREET
        GRIFFITH, IN 46319


        PORTER COUNTY TREASURER
        155 INDIANA AVE
        STE 209
        VALPARAISO, IN 46383


        PORTER VALPARAISO HOSPITAL CAMPUS
        C/O CREDIT CONTROL LLC
        PO BOX 248
        HAZELWOOD, MO 63042


        PORTER VALPARAISO HOSPITAL CAMPUS
        814 LAPORTE AVE
        VALPARAISO, IN 46383


        PORTER VALPARAISO HOSPITAL CAMPUS
        C/O PROFESSIONAL ACCT SVCS INC
        PO BOX 188
        BRENTWOOD, TN 37024-0188


        R & P HEATING & COOLING
        1002 LOCUST STREET
        VALPARAISO, IN 46383


        R & P HEATING & COOLING
        C/O MICHAEL L. LIPSKY
        257 W. INDIANA, STE B
        VALPARAISO, IN 46383
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        RADIOLOGIC ASSC OF NW IN, INC.
        C/O GREGORY HAGAN
        304 WEST US 6
        VALPARAISO, IN 46385


        RADIOLOGIC ASSOC. OF NW IND
        825 E. LINCOLNWAY
        VALPARAISO, IN 46383-5803


        RINI REALTY CO.
        C/O WEISS & SCHMIDGALL, PC
        SIX W. 73RD AVENUE
        MERRILLVILLE, IN 46410


        RINI REALTY COMPANY
        C/O SHAUN T. OLSEN
        SIX W. 73RD AVENUE
        MERRILLVILLE, IN 46410


        RINI REALTY COMPANY
        PO BOX 73180
        CLEVELAND, OH 44193


        SAND CASTLE CONSTRUCTION LLC
        1811 WOODMERE DRIVE
        VALPARAISO, IN 46383


        SCHILLING BROS. LUMBER & HARDWARE
        8900 WICKER AVE.
        SAINT JOHN, IN 46373


        SCHILLING BROTHERS LUMBER & HARDWARE
        C/O THOMAS L. KIRSCH & ASSOC
        131 RIDGE ROAD
        MUNSTER, IN 46321


        SONNENSCHEIN FINANCIAL SERVICES
        TWO TRANSAM PLAZA
        SUITE 300
        VILLA PARK, IL 60181
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        ST. JOHANN ALPENLAND RESORT CORPORATION
        TWO TRANSAM PLAZA
        SUITE 300
        OAKBROOK TERRACE, IL 60181-4817


        ST. JOHANN ALPENLAND RESORT CORPORATION



        UNIVERSAL CAR/CITI CARDS
        PO BOX 44167
        JACKSONVILLE, FL 32231-4167


        UNIVERSAL CARD/CITI CARDS
        1500 BOLTONFIELD STREET
        COLUMBUS, OH 43228


        UNIVERSAL CARD/CITI CARDS
        8787 BAYPINE ROAD
        JACKSONVILLE, FL 32256-8528


        UNIVERSAL CARD/CITI CARDS
        C/O JAVITCH BLOCK & RATHBONE LLP
        303 N ALABAMA ST STE 210
        INDIANAPOLIS, IN 46204


        US BANK
        P.O. BOX 5227, ML CN-OH-W15
        CINCINNATI, OH 45202-5227


        US BANK
        MAIL LOCATION CN-W
        425 WALNUT STREET
        CINCINNATI, OH 45202


        US BANK
        MAIL LOCATION CN-W
        425 WALNUT ST
        CINCINNATI, OH 45202
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        US BANK
        EP-MN-L23R
        PO BOX 2407
        MINNEAPOLIS, MN 55402


        US BANK
        C/O EVERGREEN PROFESSIONAL RECOVERIES
        PO BOX 666
        BOTHELL, WA 98041-0666


        US BANK NA RETAIL LEASE
        PO BOX 2188
        OSHKOSH, WI 54903-2188


        VALENTINE & KABARTAS, INC.
        P.O. BOX 325
        LAWRENCE, MA 01842-0325


        VALPARAISO-FALLS CREEK DEVELOPMENT
        C/O DOPPCO DEVELOPMENT CO
        30195 CHAGRIN BLVD. STE 110
        PEPPER PIKE, OH 44124


        VINTAGE ORIGINAL HOMES LLC
        1811 WOODMERE DRIVE
        VALPARAISO, IN 46383


        VON TOBEL LUMBER INC.
        C/O DOUGLAS KOEPPEN & HURLEY
        14 INDIANA AVENUE
        PO BOX 209
        VALPARAISO, IN 46384-0209


        WASHINGTON MUTUAL
        P.O. BOX 660487
        DALLAS, TX 75266-0487


        WASHINGTON MUTUAL
        P.O. BOX 660509
        DALLAS, TX 75266-0509
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        WASHINGTON MUTUAL CARD SERVICES
        PO BOX 660487
        DALLAS, TX 75266-0487


        WASHINGTON MUTUAL CARD SERVICES
        C/O APEX FINANCIAL MGMT LLC
        PO BOX 2219
        NORTHBROOK, IL 60065-2219


        ZIMCO MATERIALS INC
        5638 S US HWY 421
        WESTVILLE, IN 46391
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  B22A (Official Form 22A) (Chapter 7) (12/08)

            Tin T. Vo
 In re      Lynn T. Vo                                                                  According to the information required to be entered on this statement
                                        Debtor(s)                                         (check one box as directed in Part I, III, or VI of this statement):
 Case Number:                                                                                   The presumption arises.
                                   (If known)
                                                                                                 The presumption does not arise.
                                                                                                The presumption is temporarily inapplicable.


                                  CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                             AND MEANS-TEST CALCULATION
In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor, whether or not filing jointly. Unless the
exclusion in Line 1C applies, joint debtors may complete a single statement. If the exclusion in Line 1C applies, each joint filer must complete a
separate statement.

                                                  Part I. MILITARY AND NON-CONSUMER DEBTORS
              Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the beginning of the
              Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete the verification in Part
              VIII. Do not complete any of the remaining parts of this statement.
    1A
                 Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as defined in
              38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as defined in 10 U.S.C. §
              101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).
              Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification in Part VIII.
    1B        Do not complete any of the remaining parts of this statement.
                  Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.
              Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component of the Armed
              Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1)) after September 11,
              2001, for a period of at least 90 days, or who have performed homeland defense activity (as defined in 32 U.S.C. § 901(1)) for a period of
              at least 90 days, are excluded from all forms of means testing during the time of active duty or homeland defense activity and for 540
              days thereafter (the "exclusion period"). If you qualify for this temporary exclusion, (1) check the appropriate boxes and complete any
              required information in the Declaration of Reservists and National Guard Members below, (2) check the box for "The presumption is
              temporarily inapplicable" at the top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you
              are not required to complete the balance of this form, but you must complete the form no later than 14 days after the date on
              which your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your case
              before your exclusion period ends.
                 Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries below, I declare
    1C        that I am eligible for a temporary exclusion from means testing because, as a member of a reserve component of the Armed Forces or the
              National Guard

                                        a.       I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                         I remain on active duty /or/
                                                         I was released from active duty on       , which is less than 540 days before this bankruptcy case was
                                        filed;

                                                     OR

                                        b.     I am performing homeland defense activity for a period of at least 90 days /or/
                                               I performed homeland defense activity for a period of at least 90 days, terminating on        , which is less than
                                             540 days before this bankruptcy case was filed.




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                         Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
              Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
              a.   Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
              b.   Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under penalty of perjury:
                 "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are living apart other than for the
     2           purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code." Complete only column A ("Debtor's Income")
                 for Lines 3-11.
              c.   Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both Column A
                 ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
              d.      Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
              All figures must reflect average monthly income received from all sources, derived during the six Column A        Column B
              calendar months prior to filing the bankruptcy case, ending on the last day of the month before
              the filing. If the amount of monthly income varied during the six months, you must divide the     Debtor's        Spouse's
              six-month total by six, and enter the result on the appropriate line.                              Income          Income

     3        Gross wages, salary, tips, bonuses, overtime, commissions.                                         $             0.00 $            300.00
              Income from the operation of a business, profession or farm. Subtract Line b from Line a and
              enter the difference in the appropriate column(s) of Line 4. If you operate more than one
              business, profession or farm, enter aggregate numbers and provide details on an attachment. Do
              not enter a number less than zero. Do not include any part of the business expenses entered on
     4        Line b as a deduction in Part V.
                                                                          Debtor                 Spouse
               a.     Gross receipts                               $               0.00 $                 0.00
               b.     Ordinary and necessary business expenses $                   0.00 $                 0.00
               c.     Business income                              Subtract Line b from Line a                 $               0.00 $                0.00
              Rents and other real property income. Subtract Line b from Line a and enter the difference in
              the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include any
              part of the operating expenses entered on Line b as a deduction in Part V.
     5                                                                  Debtor                Spouse
               a.    Gross receipts                              $                0.00 $                0.00
               b.    Ordinary and necessary operating expenses $                  0.00 $                0.00
               c.    Rent and other real property income         Subtract Line b from Line a                     $             0.00 $                0.00
     6        Interest, dividends, and royalties.                                                                $             0.00 $                0.00
     7        Pension and retirement income.                                                                     $             0.00 $                0.00
              Any amounts paid by another person or entity, on a regular basis, for the household
     8        expenses of the debtor or the debtor's dependents, including child support paid for that
              purpose. Do not include alimony or separate maintenance payments or amounts paid by your
              spouse if Column B is completed.                                                                   $             0.00 $                0.00
              Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
              However, if you contend that unemployment compensation received by you or your spouse was a
              benefit under the Social Security Act, do not list the amount of such compensation in Column A
     9        or B, but instead state the amount in the space below:
               Unemployment compensation claimed to
               be a benefit under the Social Security Act Debtor $                      0.00 Spouse $      0.00 $              0.00 $                0.00
              Income from all other sources. Specify source and amount. If necessary, list additional sources
              on a separate page. Do not include alimony or separate maintenance payments paid by your
              spouse if Column B is completed, but include all other payments of alimony or separate
              maintenance. Do not include any benefits received under the Social Security Act or payments
              received as a victim of a war crime, crime against humanity, or as a victim of international or
    10        domestic terrorism.
                                                                         Debtor                   Spouse
               a.                                                  $                      $
               b.                                                  $                      $
              Total and enter on Line 10                                                                         $             0.00 $                0.00
    11        Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A, and, if
              Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).               $                   0.00 $            300.00




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              Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add Line 11,
    12        Column A to Line 11, Column B, and enter the total. If Column B has not been completed, enter
              the amount from Line 11, Column A.                                                                            $                   300.00

                                                  Part III. APPLICATION OF § 707(b)(7) EXCLUSION
    13        Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12 and
              enter the result.                                                                                                     $          3,600.00
              Applicable median family income. Enter the median family income for the applicable state and household size.
    14        (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
               a. Enter debtor's state of residence:                       IN           b. Enter debtor's household size:       4   $        70,873.00
              Application of Section 707(b)(7). Check the applicable box and proceed as directed.
    15            The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does not arise" at the
                  top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
                  The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.
                                        Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

                           Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
    16        Enter the amount from Line 12.                                                                                        $
              Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in Line 11,
              Column B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor's
              dependents. Specify in the lines below the basis for excluding the Column B income (such as payment of the
              spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's dependents) and the
              amount of income devoted to each purpose. If necessary, list additional adjustments on a separate page. If you did
    17        not check box at Line 2.c, enter zero.
               a.                                                                                     $
               b.                                                                                     $
               c.                                                                                     $
               d.                                                                                     $
              Total and enter on Line 17                                                                                            $
    18        Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                           $

                                           Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                                     Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
              National Standards: food, clothing and other items. Enter in Line 19A the "Total" amount from IRS National
   19A        Standards for Food, Clothing and Other Items for the applicable household size. (This information is available at
              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                     $
              National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
              Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
              Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the number of members of your
              household who are under 65 years of age, and enter in Line b2 the number of members of your household who are
              65 years of age or older. (The total number of household members must be the same as the number stated in Line
   19B        14b.) Multiply Line a1 by Line b1 to obtain a total amount for household members under 65, and enter the result in
              Line c1. Multiply Line a2 by Line b2 to obtain a total amount for household members 65 and older, and enter the
              result in Line c2. Add Lines c1 and c2 to obtain a total health care amount, and enter the result in Line 19B.
                    Household members under 65 years of age                 Household members 65 years of age or older
               a1.     Allowance per member                             a2.       Allowance per member
               b1.     Number of members                                b2.       Number of members
               c1.     Subtotal                                         c2.       Subtotal                                       $
              Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
   20A        Utilities Standards; non-mortgage expenses for the applicable county and household size. (This information is
              available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                                           $




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              Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
              Housing and Utilities Standards; mortgage/rent expense for your county and household size (this information is
              available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the total of the Average
              Monthly Payments for any debts secured by your home, as stated in Line 42; subtract Line b from Line a and enter
   20B        the result in Line 20B. Do not enter an amount less than zero.
               a.    IRS Housing and Utilities Standards; mortgage/rental expense $
               b.    Average Monthly Payment for any debts secured by your
                     home, if any, as stated in Line 42                              $
               c.    Net mortgage/rental expense                                     Subtract Line b from Line a.                  $
              Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A and
              20B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
    21        Standards, enter any additional amount to which you contend you are entitled, and state the basis for your
              contention in the space below:
                                                                                                                                      $
              Local Standards: transportation; vehicle operation/public transportation expense.
              You are entitled to an expense allowance in this category regardless of whether you pay the expenses of operating a
              vehicle and regardless of whether you use public transportation.
              Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
              included as a contribution to your household expenses in Line 8.
   22A
                    0      1        2 or more.
              If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
              Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from IRS Local
              Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or
              Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)           $
              Local Standards: transportation; additional public transportation expense. If you pay the operating expenses
              for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction for
   22B        you public transportation expenses, enter on Line 22B the "Public Transportation" amount from IRS Local
              Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
              court.)                                                                                                                $
              Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for which
              you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
              vehicles.)
                    1      2 or more.
              Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
    23        (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
              Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from Line a and enter
              the result in Line 23. Do not enter an amount less than zero.
               a.       IRS Transportation Standards, Ownership Costs                       $
                        Average Monthly Payment for any debts secured by Vehicle
               b.       1, as stated in Line 42                                             $
               c.       Net ownership/lease expense for Vehicle 1                           Subtract Line b from Line a.              $
              Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
              the "2 or more" Box in Line 23.
              Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
              (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
    24        Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from Line a and enter
              the result in Line 24. Do not enter an amount less than zero.
               a.       IRS Transportation Standards, Ownership Costs                       $
                        Average Monthly Payment for any debts secured by Vehicle
               b.       2, as stated in Line 42                                             $
               c.       Net ownership/lease expense for Vehicle 2                           Subtract Line b from Line a.              $
              Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal,
    25        state and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social
              security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                          $
              Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly payroll
    26        deductions that are required for your employment, such as retirement contributions, union dues, and uniform costs.
              Do not include discretionary amounts, such as voluntary 401(k) contributions.                                      $


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              Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for term
    27        life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for
              any other form of insurance.                                                                                                $
              Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
    28        pay pursuant to the order of a court or administrative agency, such as spousal or child support payments. Do not
              include payments on past due obligations included in Line 44.                                                               $
              Other Necessary Expenses: education for employment or for a physically or mentally challenged child. Enter
    29        the total average monthly amount that you actually expend for education that is a condition of employment and for
              education that is required for a physically or mentally challenged dependent child for whom no public education
              providing similar services is available.                                                                          $

    30        Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
              childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.               $
              Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend on
    31        health care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by
              insurance or paid by a health savings account, and that is in excess of the amount entered in Line 19B. Do not
              include payments for health insurance or health savings accounts listed in Line 34.                                         $
              Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
    32        actually pay for telecommunication services other than your basic home telephone and cell phone service - such as
              pagers, call waiting, caller id, special long distance, or internet service - to the extent necessary for your health and
              welfare or that of your dependents. Do not include any amount previously deducted.                                          $
    33        Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                                         $

                                               Subpart B: Additional Living Expense Deductions
                                      Note: Do not include any expenses that you have listed in Lines 19-32
              Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly expenses in
              the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your
              dependents.
    34
               a.         Health Insurance                                             $
               b.         Disability Insurance                                         $
               c.         Health Savings Account                                       $                                                  $
              Total and enter on Line 34.
              If you do not actually expend this total amount, state your actual total average monthly expenditures in the space
              below:
              $
              Continued contributions to the care of household or family members. Enter the total average actual monthly
    35        expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
              ill, or disabled member of your household or member of your immediate family who is unable to pay for such
              expenses.                                                                                                                   $
              Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
    36        actually incurred to maintain the safety of your family under the Family Violence Prevention and Services Act or
              other applicable federal law. The nature of these expenses is required to be kept confidential by the court.                $
              Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS Local
    37        Standards for Housing and Utilities, that you actually expend for home energy costs. You must provide your case
              trustee with documentation of your actual expenses, and you must demonstrate that the additional amount
              claimed is reasonable and necessary.                                                                            $
              Education expenses for dependent children less than 18. Enter the total average monthly expenses that you
              actually incur, not to exceed $137.50 per child, for attendance at a private or public elementary or secondary
    38        school by your dependent children less than 18 years of age. You must provide your case trustee with
              documentation of your actual expenses, and you must explain why the amount claimed is reasonable and
              necessary and not already accounted for in the IRS Standards.                                                               $




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              Additional food and clothing expense. Enter the total average monthly amount by which your food and clothing
              expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
    39        Standards, not to exceed 5% of those combined allowances. (This information is available at www.usdoj.gov/ust/
              or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
              reasonable and necessary.                                                                                             $

    40        Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash or
              financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                           $
    41        Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40                            $

                                                              Subpart C: Deductions for Debt Payment
              Future payments on secured claims. For each of your debts that is secured by an interest in property that you
              own, list the name of the creditor, identify the property securing the debt, and state the Average Monthly Payment,
    42        and check whether the payment includes taxes or insurance. The Average Monthly Payment is the total of all
              amounts scheduled as contractually due to each Secured Creditor in the 60 months following the filing of the
              bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter the total of the
              Average Monthly Payments on Line 42.
                    Name of Creditor                    Property Securing the Debt              Average Monthly Does payment
                                                                                                          Payment include taxes
                                                                                                                    or insurance?
                a.                                                                            $                        yes no
                                                                                                     Total: Add Lines               $
              Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary residence, a
              motor vehicle, or other property necessary for your support or the support of your dependents, you may include in
    43        your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor in addition to the
              payments listed in Line 42, in order to maintain possession of the property. The cure amount would include any
              sums in default that must be paid in order to avoid repossession or foreclosure. List and total any such amounts in
              the following chart. If necessary, list additional entries on a separate page.
                     Name of Creditor                   Property Securing the Debt                    1/60th of the Cure Amount
                a.                                                                              $
                                                                                                                Total: Add Lines    $
              Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such as
    44        priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing. Do
              not include current obligations, such as those set out in Line 28.                                                    $
              Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the following
              chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative expense.

               a.       Projected average monthly Chapter 13 plan payment.                       $
    45         b.       Current multiplier for your district as determined under schedules
                        issued by the Executive Office for United States Trustees. (This
                        information is available at www.usdoj.gov/ust/ or from the clerk of
                        the bankruptcy court.)                                                   x
               c.       Average monthly administrative expense of Chapter 13 case                Total: Multiply Lines a and b      $
    46        Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                            $

                                                             Subpart D: Total Deductions from Income
    47        Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                           $

                                            Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
    48        Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                $
    49        Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                     $
    50        Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                      $

    51        60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and enter the
              result.                                                                                                               $




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              Initial presumption determination. Check the applicable box and proceed as directed.
                 The amount on Line 51 is less than $6,575. Check the box for "The presumption does not arise" at the top of page 1 of this
              statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
    52
                 The amount set forth on Line 51 is more than $10,950 Check the box for "The presumption arises" at the top of page 1 of this
              statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
                    The amount on Line 51 is at least $6,575, but not more than $10,950. Complete the remainder of Part VI (Lines 53 through 55).
    53        Enter the amount of your total non-priority unsecured debt                                                                          $
    54        Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                              $
              Secondary presumption determination. Check the applicable box and proceed as directed.
                  The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at the top of page 1
    55        of this statement, and complete the verification in Part VIII.
                 The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for "The presumption arises" at the top
              of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.


                                                          Part VII. ADDITIONAL EXPENSE CLAIMS
    56        Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare of
              you and your family and that you contend should be an additional deduction from your current monthly income under §
              707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for
              each item. Total the expenses.

                       Expense Description                                                                                        Monthly Amount
               a.                                                                                               $
               b.                                                                                               $
               c.                                                                                               $
               d.                                                                                               $
                                                                         Total: Add Lines a, b, c, and d        $

                                                                         Part VIII. VERIFICATION
              I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
              must sign.)
                            Date: December 31, 2009                                       Signature: /s/ Tin T. Vo
                                                                                                       Tin T. Vo
    57                                                                                                            (Debtor)

                                 Date:      December 31, 2009                                       Signature       /s/ Lynn T. Vo
                                                                                                                     Lynn T. Vo
                                                                                                                              (Joint Debtor, if any)




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